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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                   NO. 4:15cr00101-15 JM

KRISTEN L. HOLLAND                                                                 DEFENDANT


                                            ORDER

       The Judgment [DE#474] entered on July 15, 2016, is hereby amended to reflect that the

defendant shall perform 150 hours community service during probation. The location for the

community service will be determined by the probation officer.

       All other conditions contained in the original Judgment remain in full force and effect.

       IT IS SO ORDERED this 22nd day of July, 2016.




                                                    _________________________________
                                                    JAMES M. MOODY JR.
                                                    UNITED STATES DISTRICT JUDGE
